           Case 1:12-cv-00365-LY Document 105 Filed 10/01/14 Page 1 of 1


                                                                                         FILED
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS                    W4      OC          Ml    8:   32
                                     AUSTIN DIVISION                                                      COURT
                                                                                CLLPi    U
                                                                               v1ERN         tS1R   T    of   tEXAS

 ClAN IP LLC,                                      §                            ..Y
                         PLAINTIFF,                §

                                                   §
 V.                                                §     CAUSE NO. A-12-CA-0365-LY
                                                   §
 NATIONAL INSTRUMENTS                              §
 CORPORATION,                                      §
 DEFENDANT.                                        §

                                                   §




                                       FINAL JUDGMENT

       Before the court is the above styled and numbered cause. On this date by separate order the

court dismissed all claims and counterclaims asserted in this action between Plaintiff Cian IP LLC

and Defendant National Instruments Corporation with prejudice to refihing, subject to the terms of

the parties' settlement agreement. Further, the court ordered that all attorney's fees and costs are to

be borne by the party that incurred them. As there are no disputes remaining between the parties for

resolution, the court renders this final judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that this action is hereby CLOSED.

       SIGNED this                   day of September, 2014.




                                               LEE7'1
                                               UN ED STATE DISTRICT JUDGE
